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   1   ROB BONTA
       Attorney General of California
   2   MARK R BECKINGTON
       Supervising Deputy Attorney General
   3   JANE E. REILLEY
       Deputy Attorney General
   4   State Bar No. 314766
       CHRISTINA R.B. LÓPEZ
   5   Deputy Attorney General
       State Bar No. 312610
   6    300 South Spring Street, Suite 1702
        Los Angeles, CA 90013-1230
   7    Telephone: (213) 269-6106
        Fax: (916) 324-8835
   8    E-mail: Christina.Lopez@doj.ca.gov
       Attorneys for Defendant Rob Bonta
   9
                          IN THE UNITED STATES DISTRICT COURT
  10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11
  12   CALIFORNIA RIFLE & PISTOL                   2:23-cv-10169
       ASSOCIATION, INCORPORATED;
  13   THE SECOND AMENDMENT                        DEFENDANT ROB BONTA’S
       FOUNDATION; GUN OWNERS OF                   OPPOSITION TO PLAINTIFFS’
  14   AMERICA, INC.; GUN OWNERS                   MOTION FOR PRELIMINARY
       FOUNDATION; GUN OWNERS OF                   INJUNCTION
  15   CALIFORNIA, INC.; ERICK
       VELASQUEZ, an individual;                   Date:        March 13, 2024
  16   CHARLES MESSEL, an individual;              Time:        1:30 p.m.
       BRIAN WEIMER, an individual;                Courtroom:   5C
  17   CLARENCE RIGALI, an individual;             Judge:       The Honorable Sherilyn
       KEITH REEVES, an individual;                             Peace Garnett
  18   CYNTHIA GABALDON, an individual;
       and STEPHEN HOOVER, an
  19   individual,

  20                                 Plaintiffs,

  21               v.

  22   LOS ANGELES COUNTY SHERIFF’S
  23   DEPARTMENT; SHERIFF ROBERT
       LUNA, in his official capacity; LA
  24   VERNE POLICE DEPARTMENT; LA
       VERNE CHIEF OF POLICE
  25   COLLEEN FLORES, in her official
       capacity; ROBERT BONTA, in his
  26   official capacity as Attorney General of
       the State of California; and DOES 1-10,
  27                               Defendants.
  28
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   1                                     INTRODUCTION
   2        Plaintiffs move for a preliminary injunction on Second Amendment and other
   3   grounds. As to Defendant Bonta, the motion is narrow: Plaintiffs assert that
   4   California’s concealed carry weapon (“CCW”) licensing scheme “must recognize
   5   out-of-state CCW permits.” ECF No. 20-1 (“Mem.”) at 18 (emphasis omitted). 1
   6   Plaintiffs fail to show that they are likely to succeed in establishing that California’s
   7   CCW licensing scheme violates the Constitution. The Second Amendment does
   8   not preclude states from ensuring that individuals licensed to carry a concealed
   9   weapon in public are responsible, law-abiding citizens. The Supreme Court
  10   confirmed as much in New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S.
  11   1 (2022). Nor does the Second Amendment require states to displace their own
  12   licensing regimes by honoring out-of-state licenses or otherwise catering to non-
  13   residents. Subject to certain constitutional limits, each state remains free to regulate
  14   public carry in the manner that best suits the needs of its populace.
  15        To the extent Plaintiffs also challenge the statutory provision authorizing local
  16   licensing authorities to require psychological testing, 2 that claim is meritless as
  17   well. Because Plaintiffs cannot show a likelihood of success on the merits of their
  18   claims and do not meet the remaining factors for injunctive relief, this Court should
  19   deny the motion for a preliminary injunction.
  20
  21
  22         1
                 Despite asserting that non-residents may not apply for a California CCW
       license, Plaintiffs do not seek any relief on this front in their Motion (ECF No. 20)
  23   or Proposed Order (ECF No. 20-28). See Fed. R. Civ. P. 7(b)(1)(B), (C) (moving
       party must state the relief sought and grounds for order “with particularity”); C.D.
  24   Cal. Civ. L.R. 7-4 (similar); Starks v. Cnty. of Los Angeles, 2022 WL 1344986, *1
       (C.D. Cal. March 28, 2022) (denying motion as “unacceptably ambiguous with
  25   respect to the relief requested” where relief sought in motion was inconsistent with
       relief sought in proposed order).
  26           2
                 Although Plaintiffs briefly reference the psychological assessment statute
       (California Penal Code § 26190(e)), Mem. at 2, the motion focuses on their as-
  27   applied challenge, Mem. at 17–18, and the Proposed Order does not seek to enjoin
       § 26190(e) on its face, ECF No. 20-28.
  28
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   1                                      BACKGROUND
   2        Following Bruen, California enacted Senate Bill 2 (reg. sess. 2023-2024) to
   3   implement a shall-issue permitting regime for the concealed carry of firearms. SB
   4   2 amended certain aspects of the CCW licensing scheme, but left others
   5   unchanged. 3 Penal Code § 26150 allows applicants who meet certain criteria to
   6   apply for a CCW license in the county or city where they are a “resident” or where
   7   their “principal place of employment or business” is located. Cal. Penal Code
   8   § 26150(a)(3). And under § 26190, local licensing authorities may refer the
   9   applicant “to a licensed psychologist” and evaluate “the results of [such]
  10   psychological assessment” when carrying out their obligation to ensure that the
  11   applicant is not “reasonably likely to be a danger to self, others, or the community
  12   at large.” Id. §§ 26190(e), 26202(a)(1). These aspects of the scheme—which were
  13   part of the initial CCW licensing scheme and remained unchanged by SB 2—have
  14   been in effect for at least twelve years. See S.B. 1080, Stats. 2010, c. 711, § 6; Cal.
  15   Penal Code §§ 26150(a)(3), 26190(f) (2012).
  16        SB 2 was enacted on September 26, 2023 and took effect on January 1, 2024.
  17   Plaintiffs filed their motion for a preliminary injunction on January 26, 2024. ECF
  18   No. 20.
  19                                    LEGAL STANDARD
  20        “A preliminary injunction is an extraordinary remedy never awarded as of
  21   right.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). A plaintiff
  22   seeking a preliminary injunction must demonstrate “that he is likely to succeed on
  23   the merits, that he is likely to suffer irreparable harm in the absence of preliminary
  24   relief, that the balance of equities tips in his favor, and that an injunction is in the
  25   public interest.” Id. at 20. Because Plaintiffs seek relief that would change the
  26   status quo, their request is “subject to heightened scrutiny and should not be issued
  27         3
                For the complete text, see
  28   https://leginfo.legislature.ca.gov/faces/billNavClient.xhtml?bill_id=202320240SB2.

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    1   unless the facts and law clearly favor” them. Dahl v. HEM Pharms. Corp., 7 F.3d
    2   1399, 1403 (9th Cir. 1993).
    3                                       ARGUMENT
    4   I.   PLAINTIFFS ARE UNLIKELY TO SUCCEED ON THE MERITS
    5        A.   The Bruen Framework
    6        In Bruen, the Supreme Court announced a new standard for adjudicating
    7   Second Amendment claims “centered on constitutional text and history.” 597 U.S.
    8   at 22. Under this text-and-history approach, courts must first determine that “the
    9   Second Amendment’s plain text covers an individual’s conduct.” Id. at 24. If it
   10   does, “the Constitution presumptively protects that conduct,” and “[t]he
   11   government must then justify its regulation by demonstrating that it is consistent
   12   with the Nation’s historical tradition of firearm regulation.” Id.
   13        Yet the Second Amendment is not a “regulatory straightjacket.” Bruen, 597
   14   U.S. at 30. It does not prevent states from adopting a “‘variety’ of gun regulations,”
   15   id. at 80 (Kavanaugh, J., concurring) (quoting Dist. of Columbia v. Heller, 554 U.S.
   16   570, 636 (2008)), or “experiment[ing] with reasonable firearms regulations” to
   17   address threats to the public, McDonald v. City of Chicago, 561 U.S. 742, 785
   18   (2010) (plurality opinion). And governments need not identify “a historical twin”
   19   or “dead ringer” to support a modern law—only a history or tradition of “relevantly
   20   similar” regulation. Bruen, 597 U.S. at 29–30 (quotation marks omitted).
   21        Bruen “decide[d] nothing about who may lawfully possess a firearm or the
   22   requirements that must be met to buy a gun” and did not disturb any of the Court’s
   23   prior statements “about restrictions that may be imposed on the possession or
   24   carrying of guns.” Bruen, 597 U.S. at 72 (Alito, J., concurring); see also id. at 81
   25   (Kavanaugh, J., concurring) (“[N]othing in our opinion should be taken to cast
   26   doubt on longstanding prohibitions on the possession of firearms by felons and the
   27   mentally ill . . . .” (quoting Heller, 554 U.S. at 626–27 & n.26)). And Bruen made
   28   clear that “nothing in [its] analysis” called into question licensing regimes as a

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    1   whole. Id. at 38 n.9 (majority op.). Indeed, the Court expressly approved of
    2   licensing regimes “designed to ensure” that “those bearing arms in the jurisdiction
    3   are, in fact, ‘law-abiding, responsible citizens,’” including laws requiring “a
    4   background check” or “firearms safety course.” Id. (quoting Heller, 554 U.S. at
    5   635).
    6        B.   Out-of-State Licenses
    7
                  1.    States May Maintain Licensing Schemes and Approaches
    8                   May Vary from State to State
    9        Plaintiffs contend that the Second Amendment requires California to honor
   10   CCW licenses issued in other jurisdictions and request a preliminary injunction
   11   barring public officials from enforcing “California Penal Code § 25850(a) against
   12   individuals who have unexpired CCW permits valid in any other state in the United
   13   States, or valid in the District of Columbia.” Proposed Order at 3 (emphasis
   14   added). Nothing in the text of the Second Amendment protects a traveler’s right to
   15   rely on a foreign license to carry within the State of California. See Bruen, 597
   16   U.S. at 17 (textual inquiry examines whether “Second Amendment’s plain text
   17   covers an individual’s conduct”). Indeed, in Bruen, the Supreme Court explicitly
   18   stated that “nothing in [its] analysis should be interpreted to suggest the
   19   unconstitutionality of” the 43 different “‘shall issue’ licensing regimes” then in
   20   effect. Id. at 38 n.9. These regimes vary in their particulars, and include some that
   21   do not recognize licenses from other states (e.g., 430 Ill. Comp. Stat. Ann. 66/40) as
   22   well as some that do not allow non-residents to apply (e.g., Colo. Rev. Stat. Ann.
   23   §§ 18-12-203(1)(a), 18-12-206). Bruen, 597 U.S. at 13 & n.1.
   24        Bruen indicated that shall-issue licensing schemes—even those that differ
   25   from state to state—pass muster at the first step of the Court’s two-step framework
   26   because these schemes merely ensure that those authorized to publicly carry “are, in
   27   fact, ‘law-abiding, responsible citizens.’” Id. at 38 n.9 (quoting Heller, 554 U.S. at
   28   635). Until an individual has been confirmed as law-abiding and responsible in the

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    1   jurisdiction where he or she proposes to carry, that individual does not
    2   presumptively fall within “the people” to whom the Second Amendment refers. See
    3   Bruen, 597 U.S. at 31–32 (no dispute that plaintiffs were part of “the people”
    4   because they were “ordinary, law-abiding, adult citizens”); Heller, 554 U.S. at 635
    5   (Second Amendment protects “the right of law-abiding, responsible citizens to use
    6   arms”).
    7        That Bruen approves of states imposing licensing requirements that “are
    8   designed to ensure only that those bearing arms in the jurisdiction are, in fact, ‘law-
    9   abiding, responsible citizens’”—i.e., the ‘people’—is not surprising. Bruen, 597
   10   U.S. at 38 n.9 (quoting Heller, 554 U.S. at 635). Although the Supreme Court has
   11   defined the outer bounds of permissible regulations, it has not “abrogate[d]” states’
   12   “core responsibility” of “[p]roviding for the safety of citizens within their borders.”
   13   Kolbe v. Hogan, 849 F.3d 114, 150 (4th Cir. 2017) (en banc) (Wilkinson, J.,
   14   concurring) (quoting Heller, 554 U.S. at 635), abrogated on other grounds by
   15   Bruen, 597 U.S. 1. Indeed, the Supreme Court has repeatedly affirmed the
   16   important role states play in regulating firearms, consistent with our Nation’s
   17   historical tradition. In Heller, the Court made clear that the right to keep and bear
   18   arms is “not unlimited”; states still possess “a variety of tools” to combat the
   19   problem of gun violence in a way that is responsive to the needs of their
   20   communities. 554 U.S. at 626, 636. The Court reiterated this point in McDonald,
   21   emphasizing that the Second Amendment “by no means eliminates” a state’s
   22   “ability to devise solutions to social problems that suit local needs and values.” 561
   23   U.S. at 785. Recognizing that “conditions and problems differ from locality to
   24   locality,” id. at 783, the Court made clear that “state and local experimentation with
   25   reasonable firearms regulations” could and should continue “under the Second
   26   Amendment,” id. at 785 (marks omitted).
   27        Bruen reaffirmed these principles, specifically in the licensing context. And
   28   because each state remains free to enact a licensing regime tailored to the needs of

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    1   its populace, nothing in the Supreme Court’s Second Amendment jurisprudence
    2   supports the notion that a state must accept licenses issued by other jurisdictions
    3   which may have very different licensing requirements (or no requirements at all).
    4   Plaintiffs’ proposed rule—that every state must recognize CCW licenses issued by
    5   every other state, see Proposed Order at 3—cannot be reconciled with Heller,
    6   McDonald, and Bruen. Such a rule would also potentially allow a single state to
    7   nullify the laws of its co-equal sovereigns simply by relaxing its own licensing
    8   rules—or eliminating them altogether. Taken to its logical conclusion, Plaintiffs’
    9   argument would eviscerate the State’s right to impose any CCW licensing
   10   requirements because even a citizen of a “constitutional carry” state—who has not
   11   undergone any background check or any firearm training, Mem. at 6—would be
   12   entitled to carry a concealed weapon in California. Bruen—which “all but
   13   confirmed that states may require people to obtain licenses before they carry
   14   firearms in public,” Baird v. Bonta, --- F. Supp. 3d ----, 2023 WL 9050959, at *22–
   15   26 (E.D. Cal. Dec. 29, 2023)—disclaims such a result.
   16        Plaintiffs cite no relevant authority for their position. Instead, they argue that
   17   Obergefell v. Hodges, 576 U.S. 644 (2015), presented an “analogous issue.” Mem.
   18   at 19. That suggestion is misplaced. Based on principles of equal protection and
   19   substantive due process, Obergefell held that all states were “required by the
   20   Constitution to issue marriage licenses to same-sex couples.” 576 U.S. at 680.
   21   Ancillary to that holding, the Court also concluded that there was “no lawful basis
   22   for a State to refuse to recognize a lawful same-sex marriage performed in another
   23   State on the ground of its same-sex character.” Id. at 681. Unlike in Obergefell,
   24   California is not refusing anyone a license based on a protected trait. California’s
   25   CCW licensing scheme merely ensures that local licensing authorities have access
   26   to all information necessary to verify an individual’s eligibility to lawfully carry
   27   arms in California. See infra Part I.B.
   28
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    1             2.    There Is a Historical Tradition of Local Firearm
                        Regulation, Including Restricting Licenses
    2
    3        Even if this court were to reach the second step of the Bruen analysis,
    4   California’s approach finds ample support in historical tradition. Firearm
    5   regulation at the state and local level is a longstanding American tradition, and that
    6   tradition includes localized approaches to licensing. 4 See generally Joseph Blocher,
    7   Firearm Localism, 123 Yale L.J. 82 (2013). Visitors have always been subject to
    8   local laws; if a person during the founding or Reconstruction eras were carrying a
    9   firearm, they would have had to comply with a local jurisdiction’s laws when they
   10   reached its border, regardless of any differing laws in their home state or locality.
   11        From the 1700s to the early 1900s, public carry laws prohibited carrying
   12   concealed weapons in particular localities. Spitzer Decl. ¶ 18; Rivas Decl. ¶ 16. In
   13   1686, New Jersey prohibited wearing weapons “privately.” Grants, Concessions,
   14   and Original Constitutions of The Province of New Jersey 289-90 (1881). In 1795,
   15   Massachusetts authorized the arrest of anyone who “shall ride or go armed
   16   offensively, to the fear or terror of the good citizens of this commonwealth,” 1795
   17   Mass. Acts 436, ch. 2, which encompassed the “mere act of traveling armed” with a
   18   firearm, Saul Cornell, The Long Arc of Arms Regulation in Public: From Surety to
   19   Permitting, 1328-1928, 55 U.C. Davis L.R. 2573–74 (2022). And in 1801,
   20   Tennessee enacted a law providing that anyone who “shall ride or go armed to the
   21   terror of the people, or privately carry any . . . dangerous weapon to the fear or
   22   terror of any person” without a surety, would be punished or jailed. 1801 Tenn.
   23   Laws 259–60, ch. 22, § 6.
   24        It was not uncommon for municipalities to have different policies governing
   25   particularly lethal weapons than the state as a whole, based on each locality’s
   26
              4
   27           This tradition continues in modern times. See, e.g., Cal. Penal
        Code §§ 26150(a), 26202(b) (setting forth statewide criteria for local licensing
   28   authorities to apply and “minimum requirements” for investigation thereof).

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    1   particular needs and interests. Rivas Decl. ¶¶ 40, 52–54; Spitzer Decl. ¶ 17. For
    2   instance, an 1837 Mississippi law authorized the town of Sharon to enact “the total
    3   inhibition of the odious and savage practice” of carrying dirks, Bowie knives, or
    4   pistols. 1837 Miss. Laws 294, § 5. 5 In 1849, San Francisco enacted a prohibition
    5   on carrying deadly weapons, 1849 Cal. Stat. 245, div. 11, § 127. 6 Between 1870
    6   and 1917, municipalities ranging in size from Los Angeles and San Francisco to
    7   Lompoc and St. Helena issued carry licenses to qualified applicants, despite there
    8   being no comparable statewide law. Rivas Decl. ¶ 53. Immediately after the Civil
    9   War, several Texas towns of varying size enacted ordinances against the carrying of
   10   weapons, and state lawmakers encouraged them to do so. Id. 7 And Kansas’s
   11   deadly weapon policy specifically authorized towns to regulate the carrying of
   12   weapons “concealed or otherwise.” Id.; see also C. B. Pierce, Charter and
   13   Ordinances of the City of Leavenworth, with an Appendix 45 (1863), § 23.
   14   Municipalities across the country followed suit with their own local firearm
   15   regulations during Reconstruction. Vorenberg Decl. ¶¶ 18–19. These laws
   16   reflected the local nature of restrictions on the carriage of firearms.
   17        State and local licensing laws further confirm the history and tradition
   18   underlying California’s CCW licensing scheme. Licensing laws date back to the
   19   1700s 8 and became more wide-ranging and widespread in the 1800s 9 and early
   20   1900s, when governing units began to relax comprehensive carry restrictions and
   21
              5
   22            See also 1839 Miss. Laws 385–86, ch. 168, § 5 (town of Emery); 1840
        Miss. Laws 180–81, ch. 111, § 5 (town of Hernando).
               6
   23            See also 1851 Pa. Laws 382, no. 239, § 4 (Philadelphia).
               7
                 It was not until 1870-1871 that Texas pursued a statewide gun-safety policy
   24   by enacting a sensitive places law along with a public carry law. Rivas Decl. ¶ 53.
               8
                 For instance, the colony (and then state) of Pennsylvania enacted a series of
   25   laws in the early-to-mid 1700s for licensing the discharge of a firearm, and the
        colony of Connecticut enacted a gunpowder licensing law in 1775. Spitzer Decl.
   26   ¶ 40, Ex. B.
               9
                 These included firearm discharge licensing requirements in Charleston,
   27   South Carolina; Portsmouth, New Hampshire; Schenectady, New York; Marietta,
        Ohio; New London and New Haven, Connecticut; Quincy, Illinois; Jeffersonville,
   28   Indiana; and Richmond, Virginia. Spitzer Decl. ¶ 41.

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    1   allow legal weapons carrying through licensing, subject to review by local officials
    2   who were empowered to grant carry licenses. Spitzer Decl. ¶ 20. Licensing
    3   allowed localities to tailor prohibitions to public safety threats and gather relevant
    4   information about who was publicly carrying, instead of just prohibiting carrying or
    5   use of firearms outright. Id.
    6        By the Reconstruction era, municipalities across the country began enacting
    7   their own licensing schemes. For instance, in 1866, the mayor of Memphis,
    8   Tennessee issued permits for the carrying of concealed weapons. Vorenberg Decl.
    9   ¶ 28. St. Louis, Missouri and New Orleans, Louisiana followed suit shortly
   10   thereafter. Id.; Spitzer Decl. ¶ 21. In the 1870s and 1880s, Jersey City, New
   11   Jersey; Elko, Nevada; Omaha, Nebraska; Hyde Park, Nashville, and Chicago,
   12   Illinois; New York City, New York; Ironton, Missouri; Arkansas City and Beloit,
   13   Kansas; Astoria, Oregon; Wheeling, West Virginia; St. Paul, Minnesota; Salt Lake
   14   City, Utah; and Eureka, Napa, Sacramento, and San Francisco, California
   15   established permitting systems as well. Spitzer Decl. ¶¶ 22–28; Vorenberg Decl.
   16   ¶¶ 29–33. Other municipalities around the county followed suit in the ensuing
   17   decades, including in Connecticut, California, Nebraska, Washington, Wisconsin,
   18   and the District of Columbia. Spitzer Decl. ¶¶ 29–31, 34–36. State-wide licensing
   19   schemes were also enacted in the late 1800s and early 1900s, including in Florida, 10
   20   Montana, New Jersey, Hawaii, Indiana, Michigan, New Hampshire, North
   21   Carolina, North Dakota, Ohio, Oregon, Pennsylvania, Rhode Island, and South
   22   Carolina. Id. ¶¶ 32–33, 37–38.
   23
   24         10
                  Citing one concurrence that purports to “know something of the history of
   25   th[e Florida] legislation” without further citation, id. at 703 (Buford, J., concurring),
        Plaintiffs discount all early permitting laws as allegedly race-based. Mem. at 16.
   26   But they do not (and cannot) dispute that the licensing schemes existed. Id. And in
        Watson v. Stone, 4 So.2d 700 (Fl. 1941) (en banc), the Florida Supreme Court
   27   overturned a conviction under the scheme not based on any Second Amendment
        claim, but because, as a matter of statutory construction, the law did not apply to
   28   the defendant’s conduct.

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    1        Many early licensing laws, by their terms, did not recognize licenses from
    2   other localities or allow non-residents to apply. For instance, a Georgia law made it
    3   “unlawful for any person to have or carry about his person, in any county in the
    4   State of Georgia, any pistol or revolver without first taking out a license from the
    5   Ordinary of the respective counties in which the party resides, before such person
    6   shall be at liberty to carry around with him on his person, or to have in his manual
    7   possession outside of his own home or place of business.” 1910 Ga. Laws 134, No.
    8   432. An Oregon law required anyone purchasing a pocket pistol or revolver in
    9   Oregon to “have a permit . . . signed by the municipal judge or city recorder of the
   10   city or county judge or a justice of the peace of the county wherein such person
   11   resides.” 1913 Or. Laws 497, ch. 256. And a West Virginia law required anyone
   12   wanting to carry dangerous or deadly weapons (including pistols) in West Virginia
   13   not only “to obtain a state license to carry,” but to have been “a bona fide resident
   14   of [that] state for at least one year” and “of the county” in which they filed their
   15   application applied for “sixty days.” 1925 W.Va. Acts 25, ch. 3, § 7(a). 11
   16   Municipalities offered licenses only to residents as well. See, e.g., Charles H.
   17   Hamilton, ed., The General Ordinances of the City of Milwaukee to January 1,
   18   1896 692–93, § 25 (allowing the chief of police to grant a license to any eligible
   19   person “residing within the city of Milwaukee”); Madison, Charter & General
   20   Ordinances 292 (1917), ch. 22, § 2 (same for Madison). These more recent laws—
   21   which are not only consistent with carry restrictions of the past, but are a direct
   22   outgrowth of them, Spitzer Decl. ¶¶ 13, 20—confirm that California’s CCW
   23   licensing scheme fits comfortably within the Nation’s history and tradition of
   24   firearm regulation. See Bruen, 597 U.S. at 36; Antonyuk v. Chiumento, 89 F.4th
   25   271, 319 n.32 (2d Cir. 2023) (“[W]hen laws which otherwise might be too recent
   26   when considered in isolation nonetheless reflect previously settled practices and
   27         11
                 See also, e.g., 1912 N.J. Laws 364–66, ch. 225; 1921 Mo. Laws 692, H.B.
   28   168, § 2.

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    1   assumptions, they remain probative as to the existence of an American tradition of
    2   regulation.”).
    3        Plaintiffs refer to “traveler’s exceptions” in historical concealed carry laws,
    4   Mem. at 21, but misunderstand their meaning. The type of “travel” contemplated
    5   by these exceptions separated individuals from the protections of organized society
    6   and subjected them to uniquely rural dangers like highway robbers or predatory
    7   animals. Rivas Decl. ¶¶ 27–29. 12 And the definition of “travel” was limited to the
    8   period when a person was actually on their “journey” but had not yet arrived in the
    9   next locale. Id. ¶¶ 30–31. 13 Finally, mirroring current federal firearm
   10   transportation requirements, see 18 U.S.C. § 926A, even exempted travelers were
   11   required to store their weapons in their baggage in Texas. Id. ¶ 26. In other words,
   12   “traveler” was a designation for those who were isolated from communities during
   13   the particular timeframe in which they were en route from one place to another and
   14   might have a travel-specific, emergent need to use a firearm. That is not the kind of
   15   “travel” in which Plaintiffs purportedly wish to engage here, and thus statutes
   16   containing a “traveler’s exception” provide no support for their argument.
   17
                   3.    California’s CCW Scheme Does Not Violate the Privileges
   18                    and Immunities Clause
   19        “Separately from” their Second Amendment argument, Plaintiffs claim that
   20   the lack of CCW licensing for non-residents violates the right to travel and the
   21   Privileges and Immunities Clause. Mem. at 20. These claims are one and the same.
   22
              12
   23              See Ellington v. Denning, 138 S.W. 453, 453 (Ark. 1911) (recognizing
        that, in “modern civilization,” there were “no perils of the highway against which
   24   the traveler needs for protection a deadly weapon,” and it was “absurd to say that he
        needs a pistol to protect himself from attack”).
                13
   25              The law of at least one jurisdiction provided that if purported “travelers
        stop at any settlement for a longer time than fifteen minutes they” are no longer
   26   “actually prosecuting their journey,” and therefore “shall remove all arms from
        their person or persons, and not resume the same until upon eve of departure.”
   27   1887 Terr. of N.M. Laws, § 9; see also Rosaman v. City of Okolona, 37 So. 641,
        641-42 (Miss. 1905) (individual who arrived in town Friday evening was “not a
   28   traveler” on Saturday).

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    1   Although Plaintiffs characterize the right to travel as rooted in equal protection, id.,
    2   the Supreme Court has made clear that Plaintiffs’ claim—“the right to be treated as
    3   a welcome visitor” in a state—derives from the Privileges and Immunities Clause.
    4   Saenz v. Roe, 526 U.S. 489, 500–01 (1999) (cited at Mem. 20); see also Peterson v.
    5   Martinez, 707 F.3d 1197, 1213 (10th Cir. 2013) (holding right-to-travel claim based
    6   on CCW licensing residency requirement to be “coterminous with [the] privileges
    7   and immunities argument”); Bach v. Pataki, 408 F.3d 75, 87 (2d Cir. 2005) (“[T]he
    8   ‘right to travel,’ at least in [the firearm licensing] context, is simply a shorthand for
    9   the protections of the Privileges and Immunities Clause of Article IV . . . .”),
   10   overruled on other grounds by McDonald, 561 U.S. 742.
   11        Plaintiffs’ Privileges and Immunities Clause claim is meritless. States “must
   12   accord residents and nonresidents equal treatment” “only with respect to those
   13   privileges and immunities bearing on the vitality of the Nation as a single entity” or
   14   “sufficiently basic to the livelihood of the Nation.” Super. Ct. of N.H. v. Piper, 470
   15   U.S. 274, 279 (1985) (marks omitted); Super. Ct. of Va. v. Friedman, 487 U.S. 59,
   16   64 (1988) (quotation marks omitted). State and local governments have long
   17   restricted the concealed carry of firearms, see supra Part I.B.2, which demonstrates
   18   that such carry does not meet that standard. See Peterson, 707 F.3d at 1216
   19   (pointing to “the fact that concealed carry was prohibited for resident and non-
   20   resident alike for much of our history” as evidence that it was not “sufficiently
   21   basic to the livelihood of the Nation” (quotation marks omitted)).
   22        Even assuming that CCW licensing implicates some right protected by the
   23   Privileges and Immunities Clause, California’s CCW licensing scheme would be
   24   constitutional. A state may deprive nonresidents of a protected privilege where
   25   there is substantial reason to justify the discriminatory impact and the state’s
   26   approach bears a substantial relationship to its objective. See, e.g., Barnard v.
   27   Thorstenn, 489 U.S. 546, 552 (1989). California’s requirement that an individual
   28   apply for a CCW license in the county where they live or work meets that standard.

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    1        Various conditions disqualify an individual from holding a California CCW
    2   license, including being convicted of certain crimes; abusing controlled substances;
    3   and being the subject of a domestic restraining order. See Cal. Penal Code
    4   § 26202(a). The licensing agency must review “information provided by the
    5   [California] Department of Justice” to determine whether the individual is
    6   disqualified by these criteria at the outset, id. subs. (b)(5), and the license must be
    7   revoked if a licensee later becomes disqualified for any reason, id.
    8   § 26195(b)(1)(D). In other words, licensing agencies must continuously monitor
    9   the eligibility of CCW license holders to ensure that “those bearing arms in the
   10   jurisdiction are, in fact, ‘law-abiding, responsible citizens.’” Bruen, 597 U.S. at 38
   11   n.9 (quoting Heller, 554 U.S. at 635). And the State has an interest “in continually
   12   obtaining relevant behavioral information” to do so. Bach, 408 F.3d at 91.
   13        Declining to recognize out-of-state CCW licenses and requiring an individual
   14   to be a resident of California to obtain a California CCW license both serve this
   15   monitoring objective. While California is privy to relevant behavioral information
   16   about its own residents on an ongoing basis, it does not necessarily have access to
   17   that information for non-residents. See Culp v. Raoul, 921 F.3d 646, 657 (7th Cir.
   18   2019) (describing “monitoring barrier” and “information deficit” as to non-
   19   residents); Bach, 408 F.3d at 92 (“The State can only monitor those activities that
   20   actually take place in New York.”). And it is “self-evident” that states with
   21   different licensing requirements “need not engage in monitoring of [their] licensees
   22   similar to [California’s] monitoring.” Bach, 408 F.3d at 92–93. For instance, an
   23   individual subject to a restraining order could continue to hold their Alaska CCW
   24   permit, despite not meeting California’s criteria. See Alaska Stat. § 18.65.705.
   25   And although Plaintiffs concede that non-residents “who are prohibited from
   26   owning firearms” may not do so “regardless of if they acquired a CCW permit prior
   27   to becoming prohibited,” Proposed Order at 3, they do not explain how California
   28   would necessarily know as much.

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    1        At least two circuits have thus concluded that states need not recognize out-of-
    2   state CCW licenses or permit non-residents to apply to satisfy the Privileges and
    3   Immunities Clause. See Culp, 921 F.3d at 657–58; Bach, 408 F.3d at 91–94. 14 And
    4   a district court in this circuit came to the same conclusion. See Peruta v. Cnty. of
    5   San Diego, 758 F. Supp. 2d 1106, 1119–20 (S.D. Cal. 2010), aff’d, 824 F.3d 919
    6   (9th Cir. 2016) (en banc). 15 Bruen does not change the outcome in these cases; it
    7   has no bearing on the justifications the State may present in the second part of a
    8   Privileges and Immunities analysis. Given this body of federal precedent, the out-
    9   of-state trial court opinion cited by Plaintiffs is not persuasive. Mem. at 21–22
   10   (discussing Commonwealth v. Donnell, No. 2211CR2835 (Mass. Dist. Ct. Aug. 3,
   11   2023), application for immediate Supreme Judicial Court review granted, DAR-
   12   29602 (Mass.)). 16
   13        C.    Option to Require Psychological Testing
   14              1.   Plaintiffs Have Not Raised and Cannot Raise a Facial
                        Challenge
   15
   16        Plaintiffs do not appear to facially challenge the option for licensing agencies
   17   to require psychological testing. See supra n.2. Any belated attempt by Plaintiffs
   18   to enjoin the statute in its entirety should be rejected.
   19        Even if Plaintiffs had challenged California’s psychological assessment statute
   20   on its face, they would be unlikely to succeed on the merits of that claim. Facial
   21         14
                  Another upheld a requirement that an applicant be a resident of the state
   22   before applying for a CCW license under the first part of the Privileges and
        Immunities analysis. Peterson, 707 F.3d at 1215–16.
               15
   23             At the first of the two-step test applied to Second Amendment claims pre-
        Bruen, the Ninth Circuit held that the Second Amendment did not apply to carrying
   24   concealed firearms in public. Peruta, 824 F.3d at 927, 939. The court did not
        separately evaluate the residency argument or the district court’s Privileges and
   25   Immunities analysis. See id. at 942.
               16
                  The Donnell court disregarded the Bruen concurrences and failed entirely
   26   to discuss footnote 9 of the majority opinion. Mem. of Decision on Def.’s Mot. to
        Dismiss at 4 & n.3. And while the court found that the Commonwealth had “not
   27   point[ed] to any historical precedent for” “disarming [an] individual while he is
        traveling within the state,” id. at 5, the record here demonstrates the opposite, see
   28   supra Part I.B.2.

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    1   challenges are “disfavored.” Wa. State Grange v. Wa. State Republican Party, 552
    2   U.S. 442, 450 (2008). They are “the most difficult challenge[s] to mount
    3   successfully, since the challenger must establish that no set of circumstances exists
    4   under which the [law] would be valid.” United States v. Salerno, 481 U.S. 739, 745
    5   (1987); Wa. State Grange, 552 U.S. at 449 (“[A] facial challenge must fail where
    6   the statute has a plainly legitimate sweep.” (quotation marks omitted)).
    7        Plaintiffs have not even attempted to meet the Salerno standard. Plaintiffs’
    8   motion is focused on La Verne’s specific psychological assessment requirements.
    9   Mem. at 17–18. Plaintiffs do not and cannot show that there is no individual for
   10   whom a local licensing authority somewhere in California could require a
   11   psychological assessment in connection with their CCW license application.
   12   Indeed, there could be any number of reasons a licensing authority would need a
   13   psychological assessment to confirm that an individual is a “law-abiding,
   14   responsible citizen[]” who is not “likely to be a danger to self, others, or the
   15   community at large.” Bruen, 597 U.S. at 26, 38 n.9 (quoting Heller, 554 U.S. at
   16   635); Cal. Penal Code § 26202(a)(1). Bruen clearly contemplates that states may
   17   investigate applicants before issuing a CCW license. Bruen, 597 U.S. at 80
   18   (Kavanaugh, J., concurring) (“[S]hall-issue regimes may require a license applicant
   19   to undergo fingerprinting, a background check, a mental health records check, and
   20   training in firearms handling and in laws regarding the use of force, among other
   21   possible requirements.”). Plaintiffs’ failure to make a clear showing (or any
   22   showing) that no set of circumstances exists in which the psychological assessment
   23   statute is constitutional is fatal to their motion. See Salerno, 481 U.S. at 745.
   24
                  2.    The Psychological Assessment Statute Does Not Implicate
   25                   the Second Amendment’s Plain Text
   26        In any event, the psychological assessment statute passes constitutional
   27   muster. As a threshold matter, the option to require psychological testing does not
   28   fall within the Second Amendment’s plain text because it does not prevent any

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    1   “people” from “keep[ing]” or “bear[ing]” “Arms” for lawful purposes. U.S. Const.
    2   amend. II. California’s psychological assessment statute provides local licensing
    3   authorities with a means of determining whether a CCW applicant “[i]s reasonably
    4   likely to be a danger to self, others, or the community at large,” Cal. Penal Code
    5   § 26202(a)(1), to ensure that the applicant is the type of “law-abiding, responsible
    6   citizen[]” entitled to Second Amendment rights, Bruen, 597 U.S. at 26, 38 n.9
    7   (quoting Heller, 554 U.S. at 635).
    8         The Court need look no further than Bruen itself for examples of
    9   presumptively constitutional licensing requirements that resemble § 26202(a)(1).
   10   Although Bruen struck down New York’s “proper cause” provision—which
   11   required “a special need for self-protection” to obtain a firearm permit—it did not
   12   invalidate New York’s “good moral character” requirement. Bruen, 597 U.S. at
   13   11–12 (acknowledging (without criticizing) New York’s requirement that an
   14   applicant prove they are “of good moral character”). Bruen also approvingly cited
   15   three similar licensing statutes: (1) a Delaware statute requiring applicants to be “of
   16   full age and good moral character”; (2) a Connecticut statute prohibiting the
   17   granting of licenses to applicants “lacking the essential character or temperament
   18   necessary to be trusted with a weapon”; and (3) a Rhode Island statute requiring
   19   proof that the applicant “is a suitable person to be so licensed.” Id. at 13 n.1.
   20   Indeed, Bruen favorably referenced at least 21 licensing laws that authorize
   21   officials to deny licenses to persons “found not to be law-abiding or responsible
   22   based on a determination that the applicant lacks the character or temperament to
   23   carry firearms in public spaces or otherwise presents a danger to self, others, or the
   24   community at large.” SB 2, § 1(c). 17 And Bruen also makes clear that states may
   25   require all applicants to take affirmative steps to demonstrate their license
   26         17
                 See Bruen, 597 U.S. at 13 n.1 (citing such laws in Alabama, Arkansas,
   27   Colorado, Connecticut, Delaware, Georgia, Illinois, Indiana, Iowa, Maine,
        Minnesota, Missouri, Montana, North Dakota, Oregon, Pennsylvania, Rhode
   28   Island, South Dakota, Utah, Virginia, and Wyoming).

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    1   eligibility. See 597 U.S. at 38 n.9 (approving of licensing regimes that “require
    2   applicants to . . . pass a firearms safety course”).
    3         California’s psychological assessment statute falls comfortably within the
    4   spectrum of licensing requirements approved by Bruen. Because the statute is
    5   designed to ensure that public carry is limited to law-abiding, responsible citizens,
    6   it does not implicate the Second Amendment’s plain text.
    7
                   3.   The Psychological Assessment Statute Is Consistent with
    8                   the Historical Tradition of Firearm Regulation
    9         California’s psychological assessment statute is also consistent with the well-
   10   established historical tradition of regulating the carry of weapons by persons
   11   perceived to be untrustworthy, dangerous, or mentally unstable.
   12        Firearm regulation, including of particular groups, dates back to at least the
   13   sixteenth century. The English Bill of Rights, which has “long been understood to
   14   be the predecessor to our Second Amendment,” Heller, 554 U.S. at 593, permitted
   15   Protestants to carry arms for self-defense only “as allowed by law.” 1 W. & M., c.
   16   2, § 7, in 3 Eng. Stat. at Large 441 (1689). And British common law granted
   17   people a right to have arms for self-defense “suitable to their condition and degree”
   18   and “under due restrictions.” 1 William Blackstone, Commentaries on the Laws of
   19   England 139. The “necessary restraints” on this right were intended to prevent
   20   harm to the armed person or others. Id. at 140. The tradition of prohibiting persons
   21   deemed dangerous or mentally unstable from having and bearing arms was also
   22   carried over from England to early America, as founding-era colonies and states
   23   disarmed persons thought to pose “immediate threats to public safety and stability.”
   24   Kanter v. Barr, 919 F.3d 437, 458 (7th Cir. 2019) (Barrett, J., dissenting).
   25        Weapons laws did not regulate mentally ill persons—usually referenced with
   26   the term “unsound mind”—until the modern field of psychology was established in
   27
   28
                                                   17
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    1   the late 1800s and early 1900s. Spitzer Decl. ¶ 52 & n.79, Ex. D. 18 But before the
    2   advent of modern psychology, there was already a tradition of regulating persons
    3   who exhibited “aberrant or abnormal behavior.” These individuals were often
    4   identified in the law as “vagrants,” “tramps,” and the “intoxicated,” and were
    5   “singled out [] as a suspect category with respect to weapons acquisition and use.”
    6   Id. ¶¶ 52–56, 58–72, Exs. E, F (citing laws); see also Rivas Decl. ¶¶ 56–63
    7   (discussing traditional use of “dangerousness” as acceptable disqualifier in
    8   historical licensing regimes). Under the historical understanding of those terms,
    9   individuals identified by law as “vagrants” or “tramps” undoubtedly included some
   10   who today would be considered as suffering from mental illness. Spitzer Decl.
   11   ¶ 53.
   12           Throughout American history, governmental authorities at every level have
   13   enacted laws to prevent persons deemed dangerous or mentally unstable from
   14   bearing arms. These laws are analogous to California’s psychological assessment
   15   statute, which similarly seeks to protect the public from violence and disorder by
   16   ensuring that only law-abiding, responsible citizens publicly carry dangerous
   17   weapons.
   18
                      4.   The Psychological Assessment Statute Is Not Impermissibly
   19                      Discretionary or a Violation of Due Process
   20           Rather than engaging in the analysis mandated by Bruen, Plaintiffs make
   21   conclusory assertions that the psychological assessment requirement is “inherently
   22   subjective and discretionary” and violates due process. Mem. at 17–18. Both
   23   contentions fail.
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                  Prior regulation was likely unnecessary because persons of “unsound
   26   mind” were often physically isolated from the community through home or
        institutional confinement and would not have had the ability to carry firearms in
   27   public. Gerald N. Grob, The Mad Among Us: A History of the Care of America’s
        Mentally Ill 5–21, 29, 43 (1994); Mary Ann Jimenez, Changing Faces of Madness:
   28   Early American Attitudes and Treatment of the Insane 92, 103–04 (1987).
                                                  18
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    1        The psychological assessment statute is not impermissibly discretionary.
    2   Mem. at 17. The assessments must be performed by “licensed psychologist[s],”
    3   who have specialized training and are bound by professional standards and
    4   guidelines when administering and evaluating the results. See Cal. Penal Code
    5   § 26190(e)(1); American Psychological Association, “APA GUIDELINES FOR
    6   PSYCHOLOGICAL ASSESSMENT AND EVALUATION” 5 (“Psychologists are guided by
    7   professional standards of practice in engaging in psychological testing, assessment,
    8   and evaluation to be compliant with competency expectations and to avoid harm to
    9   clients.”), available at https://www.apa.org/practice/guidelines/. Such professional
   10   standards ensure that the assessments are performed in a fair, objective, and
   11   consistent manner. In any event, “Bruen does not forbid discretion in licensing
   12   regimes—on the contrary, the Bruen Court specifically stated that its decision did
   13   not imperil the validity of more than a dozen licensing schemes that confer
   14   discretion” upon licensing authorities. Antonyuk, 89 F.4th at 312; id. at 318–20
   15   (collecting historical licensing laws that authorized discretion in granting or
   16   denying firearms licenses).
   17        Finally, Plaintiffs’ nominal claim that the psychological assessment statute
   18   deprives them of “full due process rights, including judicial hearings, evidentiary
   19   standards, the right to call supporting witnesses, and the right of appeal” (Mem. at
   20   18) lacks merit. Under Penal Code § 26206, any person whose application for a
   21   CCW permit is denied is entitled to petition the superior court, during which the
   22   government bears the burden of proving that the applicant is not entitled to a
   23   license. That procedure satisfies due process.
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    1   II.   THE REMAINING PRELIMINARY INJUNCTION FACTORS WEIGH AGAINST
    2         AN INJUNCTION

    3         A.   Plaintiffs Fail to Show Irreparable Harm
    4         “At a minimum, a plaintiff seeking preliminary injunctive relief must
    5   demonstrate . . . irreparable harm.” Caribbean Marine Servs. Co., Inc. v. Baldrige,
    6   844 F.2d 668, 674 (9th Cir. 1988). Plaintiffs’ only claimed irreparable harm is the
    7   alleged deprivation of their constitutional rights. Mem. at 23. But as explained
    8   above, none of the laws at issue violate Plaintiffs’ Second Amendment or any other
    9   rights. And the requirements Plaintiffs now challenge have been in effect for many
   10   years. Plaintiffs’ “long delay before seeking a preliminary injunction implies a lack
   11   of urgency and irreparable harm.” Miller for & on Behalf of N.L.R.B. v. Cal. Pac.
   12   Med. Ctr., 991 F.2d 536, 544 (9th Cir. 1993) (quotation marks omitted). Plaintiffs’
   13   failure to make this required showing mandates denial of their motion.
   14         B.   The Equities and Public Interest Do Not Support an Injunction
   15         The balancing of the equities and the public interest—which merge when the

   16   government is a party, Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th

   17   Cir. 2014)—weigh against an injunction. “Any time a State is enjoined by a court

   18   from effectuating statutes enacted by representatives of its people, it suffers a form

   19   of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts,

   20   C.J., in chambers) (marks omitted). That is especially true here, where the

   21   challenged laws serve the State’s compelling interest in public safety by ensuring

   22   that only law-abiding, responsible citizens publicly carry concealed weapons. See

   23   Tracy Rifle & Pistol LLC v. Harris, 118 F. Supp. 3d 1182, 1193 (E.D. Cal. 2015)

   24   (public interest favored the government because an injunction would have a

   25   detrimental effect on gun crime and violence), aff’d, 637 F. App’x 401 (9th Cir.

   26   2016).

   27         As discussed above, California’s CCW licensing scheme is constitutionally

   28   sound, so enjoining any aspect of it neither redresses any constitutional injury nor

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    1   serves any public interest. To the contrary, an injunction would hamper the State’s
    2   strong public safety interest in enforcing sensible regulations on the public carry of
    3   concealed weapons. “[S]tudies overwhelmingly support the conclusion that more
    4   carrying of firearms in public leads to an increase in crime: of the 35 social science
    5   studies looking at this issue since . . . 2005, 23 found an increase in crime . . . .” SB
    6   2, § 1(i). According to one study, in the 33 states with permissive “right-to-carry”
    7   laws, “violent crime was substantially higher—13 to 15 percent higher—10 years
    8   after the laws were adopted than it would have been” otherwise. Id. § 1(d). And
    9   “[l]aws requiring an assessment of dangerousness in connection with obtaining
   10   firearms have saved lives.” Id. § 1(l). 19
   11        The balance of equities and public interest strongly favor preserving a
   12   licensing scheme that prevents firearm violence by reasonably regulating the
   13   issuance of CCW licenses. Enjoining, even temporarily, California’s ability to
   14   thoroughly evaluate and monitor whether each CCW applicant is a law-abiding,
   15   responsible citizen would be detrimental to public safety.
   16                                      CONCLUSION
   17        Plaintiffs’ motion for preliminary injunction should be denied. 20
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   24              Plaintiffs’ contention that CCW permit holders “are an overwhelmingly
        law-abiding demographic” misses the mark. Mem. at 24. To the extent that is true,
   25   it is because California’s licensing regime effectively limits the issuance of CCW
        permits to law-abiding, responsible citizens. Thus, Plaintiffs actually underscore the
   26   necessity for the challenged statute.
                20
                   If the Court were inclined to issue an injunction, the Attorney General
   27   respectfully requests that the injunction be stayed pending appeal to “suspend[]
        judicial alteration of the status quo” during the appellate process. See F.T.C. v.
   28   Qualcomm Inc., 935 F.3d 752, 757 (9th Cir. 2019) (quotation marks omitted).

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    1   Dated: February 21, 2024                 Respectfully submitted,
    2                                            ROB BONTA
                                                 Attorney General of California
    3                                            MARK R. BECKINGTON
                                                 Supervising Deputy Attorney General
    4                                            JANE E. REILLEY
                                                 Deputy Attorney General
    5
    6                                        s/ Christina R.B. López

    7                                            CHRISTINA R.B. LÓPEZ
                                                 Deputy Attorney General
    8                                            Attorneys for Defendant Rob Bonta
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    1                           CERTIFICATE OF COMPLIANCE
    2        The undersigned, counsel of record for Defendant Rob Bonta, certifies that
    3   this brief contains 7,000 words, which complies with the word limit of L.R. 11-6.1.
    4   Dated: February 21, 2024                     Respectfully submitted,
    5                                                ROB BONTA
                                                     Attorney General of California
    6                                                MARK R. BECKINGTON
                                                     Supervising Deputy Attorney General
    7                                                JANE E. REILLEY
                                                     Deputy Attorney General
    8
    9                                            s/ Christina R.B. López
   10                                                CHRISTINA R.B. LÓPEZ
                                                     Deputy Attorney General
   11                                                Attorneys for Defendant Rob Bonta
   12
   13
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Case 2:23-cv-10169-SPG-ADS Document 25 Filed 02/21/24 Page 31 of 31 Page ID #:342




                                 CERTIFICATE OF SERVICE
  Case Name:       California Rifle & Pistol Ass'n,       Case No.     2:23-cv-10169
                   Inc., et al. v. Los Angeles County
                   Sheriff's Department, et al.

  I hereby certify that on February 21, 2024, I electronically filed the following documents with
  the Clerk of the Court by using the CM/ECF system:
      1. DEFENDANT ROB BONTA’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
         PRELIMINARY INJUNCTION
      2. DECLARATION OF PROFESSOR BRENNAN GARDNER RIVAS IN SUPPORT
         OF DEFENDANT ROB BONTA’S OPPOSITION TO PLAINTIFFS’ MOTION
         FOR PRELIMINARY INJUNCTION
      3. DECLARATION OF PROFESSOR ROBERT SPITZER IN SUPPORT OF
         DEFENDANT ROB BONTA’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
         PRELIMINARY INJUNCTION
      4. DECLARATION OF PROFESSOR MICHAEL VORENBERG IN SUPPORT OF
         DEFENDANT ROB BONTA’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
         PRELIMINARY INJUNCTION
  I certify that all participants in the case are registered CM/ECF users and that service will be
  accomplished by the CM/ECF system.
  I declare under penalty of perjury under the laws of the State of California and the United States
  of America the foregoing is true and correct and that this declaration was executed on February
  21, 2024, at San Francisco, California.


                  M. Mendiola
                   Declarant                                           Signature

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